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             EXHIBIT 15
                                        to

          Defendants’ Motions in Limine
              regarding Damages




                    Baxter Int’l, Inc. v. CareFusion Corp. et al.
                        N.D. Ill. Case No. 1:15-cv-09986
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1                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
2                            EASTERN DIVISION
3
        BAXTER INTERNATIONAL, INC.            )
4                                             )
                    Plaintiff,                )
5                                             )
            vs.                               ) 1:15-cv-09986
6                                             )
        CAREFUSION CORPORATION, and           )
7       BECTON,DICKINSON AND COMPANY,         )
                                              )
8                   Defendants.               )
9
10                  The videotaped deposition of Debra Bello,
11      called by Defendants, for examination, pursuant to
12      the Federal Rules of Civil Procedure of the United
13      States District Courts pertaining to the taking of
14      depositions taken before Stephanie A. Battaglia,
15      CSR and Notary Public in and for the County of
16      DuPage and State of Illinois, at
17      Regus - Lake Forest, 100 South Saunders Road,
18      Suite 150, Lake Forest, Illinois, on
19      August 4, 2023, 10:04 a.m.
20
21      Job No.:      500005
22      Pages:      1 - 76
23
24
                                                                                                               Transcript of Debra Bello
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                                                                                     1        A    Good morning.                                    10:05:36
                                                                                     2        Q    Could you please state your name and             10:05:37
                                                                                     3    address for the record?                                   10:05:39
                                                                                     4        A    Debra Bello, 21587 Westfield Court,              10:05:41
                                                                                     5    Deerpark, Illinois.                                       10:05:44
                                                                                     6        Q    Ms. Bello, you understand that you are           10:05:45
                                                                                     7    under oath today?                                         10:05:48
                                                                                     8        A    Yes.                                             10:05:48
                                                                                     9        Q    Is there any reason that you cannot              10:05:49
                                                                                     10   provide your most complete and accurate testimony         10:05:50
                                                                                     11   today?                                                    10:05:52
                                                                                     12       A    No.                                              10:05:53
                                                                                     13       Q    You were previously deposed on March 15,         10:05:53
                                                                                     14   2017 in this litigation, correct?                         10:05:58
                                                                                     15       A    Correct.                                         10:05:59
                                                                                     16            (Document marked Exhibit 176 for                 10:05:59
                                                                                     17              identification.)                               10:05:59
                                                                                     18   BY MS. GARCIA:                                            10:06:00
                                                                                     19       Q    Now, I would like to mark or hand you what       10:06:00
                                                                                     20   has been marked Exhibit 176, which is a copy of           10:06:04
                                                                                     21   the transcript of your March 15, 2017 deposition.         10:06:09
                                                                                     22             Have you reviewed the transcript of your        10:06:17
                                                                                     23   March 15, 2017 deposition?                                10:06:19
                                                                                     24       A    I have reviewed it.                              10:06:20



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                                                                                     1        Q   When?                                            10:06:21
                                                                                     2        A   Just the other day.                              10:06:21
                                                                                     3        Q   Did you review it as part of the                 10:06:24
                                                                                     4    preparation for today's deposition?                      10:06:26
                                                                                     5        A   Yes.                                             10:06:27
                                                                                     6        Q   Did you read the entirety of your                10:06:28
                                                                                     7    transcript?                                              10:06:29
                                                                                     8        A   Yes.                                             10:06:29
                                                                                     9        Q   Is there anything in your March 15, 2017         10:06:30
                                                                                     10   deposition transcript that you wish to clarify or        10:06:34
                                                                                     11   correct?                                                 10:06:36
                                                                                     12       A   No.                                              10:06:36
                                                                                     13       Q   You testified in 2017, which was about six       10:06:37
                                                                                     14   years ago, right?                                        10:06:42
                                                                                     15       A   Yes.                                             10:06:43
                                                                                     16       Q   And that was closer in time to the events        10:06:43
                                                                                     17   that are salient to this litigation than today,          10:06:45
                                                                                     18   correct?                                                 10:06:48
                                                                                     19       A   It is an earlier time period.                    10:06:48
                                                                                     20       Q   So fair to say that your memory of the           10:06:50
                                                                                     21   events as they transpired in 2017 might be more          10:06:52
                                                                                     22   accurate than your memory today of those events?         10:06:56
                                                                                     23           MR. COOK:   Object to form.                      10:06:58
                                                                                     24           THE WITNESS:   I don't know.                     10:07:00



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                                                                                     1    BY MS. GARCIA:                                            10:07:00
                                                                                     2        Q   Now, reviewing patents was not one of your        10:07:02
                                                                                     3    job responsibilities at Baxter, right?                    10:07:05
                                                                                     4        A   Correct.                                          10:07:06
                                                                                     5        Q   Have you ever reviewed any patents other          10:07:07
                                                                                     6    than those that belong to Baxter?                         10:07:10
                                                                                     7        A   No.                                               10:07:12
                                                                                     8        Q   Reviewing patent licenses was not one of          10:07:13
                                                                                     9    your job responsibilities while at Baxter?                10:07:18
                                                                                     10       A   No.                                               10:07:19
                                                                                     11       Q   And you didn't negotiate patent licenses          10:07:20
                                                                                     12   while you were employed at Baxter, correct?               10:07:22
                                                                                     13       A   No, I did not.                                    10:07:24
                                                                                     14       Q   You are not knowledgeable regarding U.S.          10:07:25
                                                                                     15   patent law, right?                                        10:07:28
                                                                                     16       A   Correct.                                          10:07:28
                                                                                     17       Q   You are not familiar with the                     10:07:29
                                                                                     18   Georgia-Pacific factors for computing a reasonable        10:07:31
                                                                                     19   royalty in a patent infringement case?                    10:07:34
                                                                                     20       A   I have heard the term, I don't know what          10:07:36
                                                                                     21   that means.                                               10:07:39
                                                                                     22       Q   In what context have you heard -- I am            10:07:39
                                                                                     23   sorry, strike that.                                       10:07:42
                                                                                     24            When you say you heard the term, you are         10:07:43



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                                                                                     1    referring to Georgia-Pacific factors?                     10:07:45
                                                                                     2        A   Yes.                                              10:07:47
                                                                                     3        Q   In what context did you hear the term             10:07:47
                                                                                     4    Georgia-Pacific factors?                                  10:07:49
                                                                                     5            MR. COOK:   I am just going to caution the        10:07:51
                                                                                     6    witness not to disclose the substance of any              10:07:52
                                                                                     7    attorney-client communications.                           10:07:55
                                                                                     8            THE WITNESS:   Okay.                              10:07:56
                                                                                     9    BY MS. GARCIA:                                            10:07:56
                                                                                     10       Q   To be clear, I am not interested in the           10:07:57
                                                                                     11   content of your communications with counsel, I am         10:07:58
                                                                                     12   just interested in knowing in what context you            10:08:00
                                                                                     13   heard the term Georgia-Pacific factor.                    10:08:02
                                                                                     14           MR. COOK:   You can answer the question to        10:08:09
                                                                                     15   the extent you heard Georgia-Pacific factors              10:08:11
                                                                                     16   outside the context of attorney-client                    10:08:14
                                                                                     17   communication.                                            10:08:16
                                                                                     18           THE WITNESS:   That is correct.                   10:08:17
                                                                                     19   BY MS. GARCIA:                                            10:08:17
                                                                                     20       Q   And just so the record is clear, you heard        10:08:18
                                                                                     21   the Georgia -- the term Georgia-Pacific factors as        10:08:22
                                                                                     22   part of your preparation for this deposition with         10:08:26
                                                                                     23   counsel?                                                  10:08:28
                                                                                     24       A   Yes.                                              10:08:29



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                                                                                     1        Q     You have never performed a Georgia-Pacific       10:08:30
                                                                                     2    analysis to determine damages in a patent                  10:08:34
                                                                                     3    infringement case, correct?                                10:08:37
                                                                                     4        A     No.                                              10:08:38
                                                                                     5        Q     Do you understand what the term                  10:08:39
                                                                                     6    apportionment means in the term of patent                  10:08:40
                                                                                     7    licensing?                                                 10:08:43
                                                                                     8        A     Not totally.                                     10:08:44
                                                                                     9              MR. COOK:   Object to form.                      10:08:44
                                                                                     10             THE WITNESS:   No.                               10:08:45
                                                                                     11   BY MS. GARCIA:                                             10:08:46
                                                                                     12       Q     What is your -- do you have any                  10:08:47
                                                                                     13   understanding of the term apportionment within the         10:08:48
                                                                                     14   context of patent licensing?                               10:08:50
                                                                                     15       A     No.                                              10:08:52
                                                                                     16       Q     So you have never performed any                  10:08:52
                                                                                     17   apportionment analysis in the context of                   10:08:54
                                                                                     18   determining a reasonable royalty in patent                 10:08:56
                                                                                     19   infringement cases?                                        10:08:59
                                                                                     20       A     No.                                              10:09:00
                                                                                     21       Q     Ms. Bello, you were one of the named             10:09:00
                                                                                     22   inventors to U.S. Patent No. 7,782,805, correct?           10:09:03
                                                                                     23       A     I don't have the number memorized for the        10:09:07
                                                                                     24   patent.                                                    10:09:11



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                                                                                     1    any other Baxter products, is that right?                    10:48:11
                                                                                     2        A    I was in medication delivery and there              10:48:14
                                                                                     3    were other pumps with sets and things, but not               10:48:17
                                                                                     4    directly involved in development.                            10:48:22
                                                                                     5        Q    The only product for which you were                 10:48:23
                                                                                     6    directly involved in development is the Colleague,           10:48:25
                                                                                     7    right?                                                       10:48:27
                                                                                     8        A    Yes.                                                10:48:27
                                                                                     9        Q    Now, in your role in medical affairs at             10:48:28
                                                                                     10   Baxter you were responsible for supporting other             10:48:32
                                                                                     11   medical pumps in Baxter's portfolio, right?                  10:48:35
                                                                                     12       A    Uh-huh.                                             10:48:39
                                                                                     13       Q    Are you familiar with the Flogard 6201?             10:48:39
                                                                                     14       A    Yes.                                                10:48:48
                                                                                     15       Q    Do you know whether the Flogard 6201                10:48:48
                                                                                     16   practices of the '805 patent?                                10:48:51
                                                                                     17       A    I don't know.                                       10:48:54
                                                                                     18       Q    Are you familiar with the Flogard 6301?             10:48:55
                                                                                     19       A    Yes.                                                10:48:59
                                                                                     20       Q    You don't know whether the Flogard 6301             10:48:59
                                                                                     21   practices the '805 patent?                                   10:49:03
                                                                                     22       A    No, I don't know.                                   10:49:11
                                                                                     23       Q    Are you familiar with the Sigma Spectrum?           10:49:11
                                                                                     24       A    I have heard the name.                              10:49:13



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                                                                                     1        Q   You don't know whether the Spectrum                 10:49:14
                                                                                     2    practices the '805 patent?                                  10:49:17
                                                                                     3        A   No.                                                 10:49:18
                                                                                     4        Q   Are you familiar with the AS40 pump?                10:49:19
                                                                                     5        A   Yes.                                                10:49:22
                                                                                     6        Q   You don't know --                                   10:49:24
                                                                                     7        A   I have heard of it, but I don't know.               10:49:25
                                                                                     8        Q   You don't know if the AS40 practices the            10:49:27
                                                                                     9    '805?                                                       10:49:31
                                                                                     10       A   No.                                                 10:49:31
                                                                                     11       Q   Are you familiar with the AS50?                     10:49:31
                                                                                     12       A   Yes.                                                10:49:34
                                                                                     13       Q   You don't know that it practices the '805           10:49:34
                                                                                     14   patent either?                                              10:49:38
                                                                                     15       A   No.                                                 10:49:39
                                                                                     16       Q   I will just give a longer list of pumps.            10:49:40
                                                                                     17       A   Okay.                                               10:49:44
                                                                                     18       Q   Are you familiar with the AP2, Ipump,               10:49:45
                                                                                     19   InfuseOR, Syndeo, Sabratek Home Run, MAXX                   10:49:50
                                                                                     20   Ambulatory Infusion Pump, and IV Expres Volumetric          10:49:56
                                                                                     21   Ambulatory Infusion Pumps?                                  10:50:02
                                                                                     22       A   I have heard of them.    I don't know that I        10:50:05
                                                                                     23   have heard of IV Expres.                                    10:50:06
                                                                                     24       Q   Of the pumps that you are familiar with             10:50:08



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                                                                                      1    you don't know whether they practice of the '805           10:50:10
                                                                                      2    patent, right?                                             10:50:12
                                                                                      3        A   I don't know.                                      10:50:13
                                                                                      4            MR. COOK:   Object to form.                        10:50:14
                                                                                      5    BY MS. GARCIA:                                             10:50:15
                                                                                      6        Q   So part of your role at Baxter was to              10:50:16
                                                                                      7    speak to customers and get feedback for that               10:50:18
                                                                                      8    clinical perspective, right?                               10:50:20
                                                                                      9        A   Yes.                                               10:50:22
                                                                                      10       Q   You spoke were customers to get feedback           10:50:22
                                                                                      11   about the Colleague specifically, right?                   10:50:30
                                                                                      12       A   Yes.                                               10:50:31
                                                                                      13       Q   Now, in your prior deposition you                  10:50:32
                                                                                      14   testified that you could not recall how often you          10:50:34
                                                                                      15   spoke with customers to get their feedback,                10:50:36
                                                                                      16   correct?                                                   10:50:38
                                                                                      17       A   Correct.                                           10:50:38
                                                                                      18       Q   And you testified that you had no                  10:50:39
                                                                                      19   recollection whatsoever how often you met with             10:50:41
                                                                                      20   customers in the mid 1990s, right?                         10:50:44
                                                                                      21       A   I do not know.                                     10:50:46
                                                                                      22       Q   Now, sitting here today can you remember           10:50:48
                                                                                      23   any specific instance of when you spoke with a             10:50:51
                                                                                      24   customer about Baxter's Colleague pump?                    10:50:54



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                                                                                      1        A   No.                                                10:50:58
                                                                                      2        Q   Can you -- withdrawn.                              10:50:58
                                                                                      3             Are you aware of any documents recording          10:51:18
                                                                                      4    customer feedback for the Colleague pump after it          10:51:20
                                                                                      5    launched?                                                  10:51:26
                                                                                      6        A   After launch?     I don't recall.                  10:51:27
                                                                                      7        Q   Do you recall whether customers ever had           10:51:31
                                                                                      8    any criticisms of the Colleague pump after it              10:51:36
                                                                                      9    launched?                                                  10:51:39
                                                                                      10       A   I don't recall.                                    10:51:39
                                                                                      11       Q   Do you recall if customers ever provided           10:51:44
                                                                                      12   feedback about the Colleague's ability to bolt and         10:51:54
                                                                                      13   unbolt the pumps?                                          10:51:57
                                                                                      14           MR. COOK:   Object to form.                        10:51:58
                                                                                      15           THE WITNESS:    I don't recall.                    10:52:00
                                                                                      16   BY MS. GARCIA:                                             10:52:00
                                                                                      17       Q   Do you recall whether customers ever               10:52:03
                                                                                      18   provided feedback about the Colleague's ability to         10:52:05
                                                                                      19   display pictorial graphics depicting user                  10:52:08
                                                                                      20   interface information?                                     10:52:12
                                                                                      21           MR. COOK:   Object to form.                        10:52:15
                                                                                      22           THE WITNESS:    I don't recall.                    10:52:15
                                                                                      23   BY MS. GARCIA:                                             10:52:15
                                                                                      24       Q   Do you recall if customers ever provided           10:52:15



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                                                                                      1    feedback about the Colleague screens displaying            10:52:23
                                                                                      2    user interface information?                                10:52:26
                                                                                      3            MR. COOK:   Object to form.                        10:52:27
                                                                                      4            THE WITNESS:   I don't recall.                     10:52:28
                                                                                      5    BY MS. GARCIA:                                             10:52:29
                                                                                      6        Q   You were the director of medical affairs           10:52:44
                                                                                      7    at Baxter in the 2005 time period, right?                  10:52:46
                                                                                      8        A   Yes.                                               10:52:50
                                                                                      9        Q   Were you responsible for providing                 10:52:52
                                                                                      10   clinical support for the Colleague up                      10:52:56
                                                                                      11   through 2005?                                              10:52:59
                                                                                      12       A   I don't remember exactly, but we responded         10:53:00
                                                                                      13   to clinical inquiries as part of the role in               10:53:06
                                                                                      14   medical information.                                       10:53:09
                                                                                      15       Q   Did customers ever report safety concerns          10:53:10
                                                                                      16   with the Colleague pump?                                   10:53:15
                                                                                      17       A   That wouldn't be my department.                    10:53:16
                                                                                      18       Q   So as the director of medical affairs              10:53:18
                                                                                      19   concerns with the safety of the Colleague pump             10:53:24
                                                                                      20   were not within your purview?                              10:53:26
                                                                                      21       A   No.                                                10:53:28
                                                                                      22       Q   Were you aware in 2005 of Baxter notifying         10:53:28
                                                                                      23   customers that it detected a design issue with the         10:53:34
                                                                                      24   Colleague pump that may have been associated with          10:53:37



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                                                                                      1    a patient death?                                           10:53:40
                                                                                      2             MR. COOK:   Object to form.                       10:53:41
                                                                                      3             THE WITNESS:   I don't recall the exact           10:53:42
                                                                                      4    information.                                               10:53:45
                                                                                      5    BY MS. GARCIA:                                             10:53:45
                                                                                      6        Q    Do you have any familiarity with that             10:53:47
                                                                                      7    notice that Baxter provided to its customers in            10:53:49
                                                                                      8    2005?                                                      10:53:53
                                                                                      9             MR. COOK:   Object to form.                       10:53:54
                                                                                      10            THE WITNESS:   Again, that would be from a        10:53:54
                                                                                      11   safety organization, that wouldn't be from mine.           10:53:56
                                                                                      12   BY MS. GARCIA:                                             10:53:58
                                                                                      13       Q    Were you involved at all in addressing the        10:53:58
                                                                                      14   design issue that was associated with a patient's          10:54:01
                                                                                      15   death?                                                     10:54:04
                                                                                      16       A    No.                                               10:54:04
                                                                                      17            MR. COOK:   Object to form.                       10:54:05
                                                                                      18   BY MS. GARCIA:                                             10:54:06
                                                                                      19       Q    Now, you previously testified that you did        10:54:17
                                                                                      20   not know all the names of the competing pumps that         10:54:20
                                                                                      21   were in the market at the same time as you were            10:54:24
                                                                                      22   developing the Colleague, right?                           10:54:26
                                                                                      23       A    Correct.                                          10:54:28
                                                                                      24       Q    But as we discussed earlier, you did have         10:54:28



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                                                                                      1    personal clinical experience with IVAC pumps, IMED         10:54:34
                                                                                      2    pumps, and Flogard, right?                                 10:54:38
                                                                                      3        A    Yes.                                              10:54:39
                                                                                      4        Q    But you can't recall the specific IVAC or         10:54:39
                                                                                      5    IMED models for which you have clinical                    10:54:43
                                                                                      6    experience, right?                                         10:54:46
                                                                                      7        A    Not anymore.                                      10:54:46
                                                                                      8        Q    So fair to say in 1998 you personally had         10:54:48
                                                                                      9    not used all of the infusion pumps that were               10:54:56
                                                                                      10   available in the market at that time, correct?             10:54:58
                                                                                      11       A    Correct.                                          10:55:00
                                                                                      12       Q    And you were not involved in evaluating           10:55:00
                                                                                      13   competitor pumps as part of your role at Baxter,           10:55:03
                                                                                      14   correct?                                                   10:55:06
                                                                                      15       A    No.                                               10:55:06
                                                                                      16       Q    You didn't receive reports or evaluations         10:55:07
                                                                                      17   about competitor pumps in your role at Baxter,             10:55:09
                                                                                      18   right?                                                     10:55:12
                                                                                      19       A    No.                                               10:55:13
                                                                                      20       Q    And you don't know who at Baxter was              10:55:13
                                                                                      21   responsible for evaluating competitor pumps at any         10:55:16
                                                                                      22   time, correct?                                             10:55:19
                                                                                      23       A    No.                                               10:55:20
                                                                                      24       Q    And you were not focused on reading               10:55:21



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                                                                                      1    materials about pumps made by Baxter's                     10:55:27
                                                                                      2    competitors, right?                                        10:55:30
                                                                                      3        A   No.                                                10:55:30
                                                                                      4        Q   And you weren't curious at all about the           10:55:30
                                                                                      5    competing pumps in the market during your time at          10:55:34
                                                                                      6    Baxter, correct?                                           10:55:36
                                                                                      7            MR. COOK:   Object to form.                        10:55:37
                                                                                      8            THE WITNESS:   No.                                 10:55:38
                                                                                      9    BY MS. GARCIA:                                             10:55:38
                                                                                      10       Q   You testified previously that you never            10:55:40
                                                                                      11   spoke with Baxter's customers about competitor             10:55:42
                                                                                      12   pumps, correct?                                            10:55:45
                                                                                      13           MR. COOK:   Object to form.                        10:55:46
                                                                                      14           THE WITNESS:   Correct.                            10:55:47
                                                                                      15   BY MS. GARCIA:                                             10:55:47
                                                                                      16       Q   And in your testimony one of the reasons           10:55:50
                                                                                      17   that you did not discuss pumps -- withdrawn.               10:55:53
                                                                                      18            One of the reasons why you didn't discuss         10:55:58
                                                                                      19   Baxter's competitor pumps with your customers is           10:56:01
                                                                                      20   because you didn't know all the nuances of how             10:56:05
                                                                                      21   those competitor pumps operated, right?                    10:56:08
                                                                                      22       A   Correct.                                           10:56:10
                                                                                      23       Q   Now, for example, you never discussed with         10:56:10
                                                                                      24   -- you never discussed with customers how Baxter's         10:56:16



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                                                                                      1    Colleague alarm compared to alarms in other                  10:56:19
                                                                                      2    products, right?                                             10:56:22
                                                                                      3        A    No.     I wouldn't have a need to.                  10:56:24
                                                                                      4        Q    And you worked at Baxter from 1996 to               10:56:26
                                                                                      5    2006?                                                        10:56:31
                                                                                      6        A    2016.                                               10:56:32
                                                                                      7        Q    Apologies, I will reask it.                         10:56:36
                                                                                      8              You worked at Baxter from 1996 to 2016,            10:56:39
                                                                                      9    right?                                                       10:56:42
                                                                                      10       A    Correct.                                            10:56:42
                                                                                      11       Q    So in the 20 years that you were at Baxter          10:56:42
                                                                                      12   it's fair to say that you have no knowledge of the           10:56:48
                                                                                      13   other infusion pumps that were in the marketplace            10:56:53
                                                                                      14   during that time, correct?                                   10:56:56
                                                                                      15            MR. COOK:     Object to form.                       10:56:56
                                                                                      16            THE WITNESS:     I know names.                      10:56:57
                                                                                      17   BY MS. GARCIA:                                               10:56:58
                                                                                      18       Q    Your knowledge of competitor pumps during           10:56:59
                                                                                      19   the 20 years you were at Baxter is limited to the            10:57:01
                                                                                      20   names of those competitor pumps, right?                      10:57:04
                                                                                      21            MR. COOK:     Object to form.                       10:57:06
                                                                                      22            THE WITNESS:     Correct, sorry.                    10:57:06
                                                                                      23   BY MS. GARCIA:                                               10:57:08
                                                                                      24       Q    You have heard of the Alaris Medley                 10:57:08



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                                                                                      1    Infusion Pump, right?                                      10:57:11
                                                                                      2        A    Yes.                                              10:57:12
                                                                                      3        Q    And, actually, we have been going about an        10:57:13
                                                                                      4    hour, I am transitioning into a different module,          10:57:15
                                                                                      5    if you want to take a break we can do so.                  10:57:18
                                                                                      6        A    I am okay.                                        10:57:20
                                                                                      7        Q    Okay.                                             10:57:21
                                                                                      8              You have seen the Alaris Medley at trade         10:57:27
                                                                                      9    shows, correct?                                            10:57:30
                                                                                      10       A    Yes.                                              10:57:31
                                                                                      11       Q    At your prior deposition you testified            10:57:31
                                                                                      12   that you had never operated an Alaris Medley,              10:57:33
                                                                                      13   right?                                                     10:57:36
                                                                                      14       A    That is correct.                                  10:57:36
                                                                                      15       Q    Have you operated an Alaris Medley since          10:57:37
                                                                                      16   March, 2017?                                               10:57:39
                                                                                      17       A    No.                                               10:57:40
                                                                                      18       Q    In your prior deposition you also                 10:57:40
                                                                                      19   testified that you had no understanding of how an          10:57:47
                                                                                      20   Alaris Medley operates, correct?                           10:57:49
                                                                                      21       A    Correct.                                          10:57:51
                                                                                      22       Q    Have you developed any understanding of           10:57:52
                                                                                      23   how the Alaris Medley operates since March, 2017?          10:57:54
                                                                                      24       A    No.                                               10:57:58



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                                                                                      1        Q   Do you know anything about Baxter's                10:57:58
                                                                                      2    infringement allegations in this case?                     10:58:02
                                                                                      3            MR. COOK:   Object to form.                        10:58:04
                                                                                      4            THE WITNESS:    No.                                10:58:05
                                                                                      5    BY MS. GARCIA:                                             10:58:05
                                                                                      6        Q   Do you know what Baxter is accusing of             10:58:07
                                                                                      7    infringing the '805 patent?                                10:58:09
                                                                                      8        A   No.                                                10:58:11
                                                                                      9        Q   Now, none of your roles at Baxter required         10:58:11
                                                                                      10   you to value patents, right?                               10:58:16
                                                                                      11       A   Correct.                                           10:58:18
                                                                                      12       Q   You have never performed a valuation of            10:58:18
                                                                                      13   any of Baxter's U.S. patents, correct?                     10:58:21
                                                                                      14       A   Correct.                                           10:58:25
                                                                                      15       Q   You are not aware of every patent in               10:58:25
                                                                                      16   Baxter's patent portfolio, right?                          10:58:27
                                                                                      17       A   I am not aware.                                    10:58:29
                                                                                      18       Q   None of your roles at Baxter ever required         10:58:30
                                                                                      19   you to negotiate patent licenses, right?                   10:58:33
                                                                                      20       A   Correct.                                           10:58:35
                                                                                      21       Q   Do you have any understanding of whether           10:58:36
                                                                                      22   Baxter has any policies or practices with respect          10:58:41
                                                                                      23   to patent licensing?                                       10:58:44
                                                                                      24       A   I don't know.                                      10:58:46



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                                                                                      1        Q   In 2001 were you aware of Baxter having            10:58:47
                                                                                      2    any written policies or practices regarding patent         10:58:57
                                                                                      3    licensing?                                                 10:59:00
                                                                                      4        A   I don't know.                                      10:59:00
                                                                                      5        Q   Between 2001 and 2016 did you know whether         10:59:01
                                                                                      6    Baxter implemented any written policies or                 10:59:07
                                                                                      7    practices regarding patent licensing?                      10:59:09
                                                                                      8        A   I don't know.                                      10:59:11
                                                                                      9        Q   Do you have any knowledge of how Baxter            10:59:11
                                                                                      10   negotiated licenses for patents in 2001?                   10:59:16
                                                                                      11       A   No.                                                10:59:19
                                                                                      12       Q   You have never determined a patent royalty         10:59:19
                                                                                      13   rate, correct?                                             10:59:25
                                                                                      14       A   Correct.                                           10:59:26
                                                                                      15       Q   You have never justified a patent royalty          10:59:26
                                                                                      16   rate, correct?                                             10:59:32
                                                                                      17       A   Correct.                                           10:59:32
                                                                                      18       Q   You have never valued a patented                   10:59:33
                                                                                      19   technology in comparison to non-infringing                 10:59:35
                                                                                      20   alternatives, correct?                                     10:59:37
                                                                                      21       A   Correct.                                           10:59:38
                                                                                      22           MR. COOK:   Object to form.                        10:59:38
                                                                                      23   BY MS. GARCIA:                                             10:59:39
                                                                                      24       Q   You have never testified regarding damages         10:59:40



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                                                                                      1    from patent infringement, correct?                               10:59:43
                                                                                      2            MR. COOK:     Object to form.                            10:59:47
                                                                                      3            THE WITNESS:       Correct.                              10:59:47
                                                                                      4    BY MS. GARCIA:                                                   10:59:48
                                                                                      5        Q   You have never evaluated the effect of a                 10:59:51
                                                                                      6    convoyed sale on the determination of a royalty                  10:59:55
                                                                                      7    rate, correct?                                                   10:59:57
                                                                                      8        A   Correct.                                                 10:59:57
                                                                                      9        Q   You don't have any knowledge about any                   10:59:58
                                                                                      10   licenses between Massachusetts General Hospital                  11:00:01
                                                                                      11   and SIGMA International, right --                                11:00:04
                                                                                      12              MS. REPORTER:     Massachusetts General               11:00:04
                                                                                      13   Hospital and?                                                    11:00:04
                                                                                      14           MS. GARCIA:     SIGMA International.        I can        11:00:11
                                                                                      15   reask the question.                                              11:00:12
                                                                                      16   BY MS. GARCIA:                                                   11:00:13
                                                                                      17       Q   You do not have any knowledge about any                  11:00:13
                                                                                      18   licenses between Massachusetts General Hospital                  11:00:16
                                                                                      19   and SIGMA International, right?                                  11:00:19
                                                                                      20       A   Correct.                                                 11:00:21
                                                                                      21       Q   You do not have any knowledge about any                  11:00:22
                                                                                      22   agreements between SIGMA and Care Everywhere,                    11:00:24
                                                                                      23   correct?                                                         11:00:27
                                                                                      24       A   Correct.                                                 11:00:27



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                                                                                      1        Q   You do not have any knowledge about any            11:00:28
                                                                                      2    licenses between Baxter and Cerner Corporation,            11:00:32
                                                                                      3    correct?                                                   11:00:35
                                                                                      4        A   Correct.                                           11:00:36
                                                                                      5        Q   You do not have any knowledge about a              11:00:36
                                                                                      6    patent license between Alaris Medical Systems and          11:00:39
                                                                                      7    Caesarea Medical Electronics Medical, Ltd.,                11:00:44
                                                                                      8    correct?                                                   11:00:47
                                                                                      9        A   Correct.                                           11:00:47
                                                                                      10       Q   Have you been deposed since March, 20 --           11:00:47
                                                                                      11   March 15, 2017?                                            11:00:56
                                                                                      12       A   No.                                                11:00:57
                                                                                      13       Q   Have you ever testified in court before?           11:00:57
                                                                                      14       A   No.                                                11:01:00
                                                                                      15       Q   Do you intend to testify to testify in             11:01:02
                                                                                      16   this litigation at trial?                                  11:01:08
                                                                                      17           MR. COOK:   Object to form.                        11:01:10
                                                                                      18           THE WITNESS:   I don't know.                       11:01:11
                                                                                      19   BY MS. GARCIA:                                             11:01:12
                                                                                      20       Q   What did you do to prepare for this                11:01:15
                                                                                      21   deposition?                                                11:01:17
                                                                                      22       A   As discussed before, I briefly looked at           11:01:17
                                                                                      23   the patent and my deposition.                              11:01:22
                                                                                      24       Q   Did you do anything else to prepare for            11:01:24



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                                                                                      1    the deposition?                                              11:01:26
                                                                                      2        A   No.                                                  11:01:27
                                                                                      3        Q   Did you communicate with Baxter's in-house           11:01:28
                                                                                      4    lawyers to prepare for today?                                11:01:31
                                                                                      5        A   Yes.                                                 11:01:32
                                                                                      6        Q   When?                                                11:01:34
                                                                                      7        A   It was two days ago, I believe, which                11:01:35
                                                                                      8    would have been August 2.                                    11:01:40
                                                                                      9        Q   How long did you meet with Baxter's                  11:01:45
                                                                                      10   in-house lawyers to prepare for this deposition?             11:01:48
                                                                                      11       A   About an hour.                                       11:01:50
                                                                                      12       Q   Who did you meet with from Baxter's                  11:01:52
                                                                                      13   in-house legal team?                                         11:01:54
                                                                                      14       A   In-house, Austin Foley.                              11:01:55
                                                                                      15       Q   Did you meet with Baxter's outside counsel           11:02:02
                                                                                      16   to prepare for today's deposition?                           11:02:05
                                                                                      17       A   They were present.                                   11:02:07
                                                                                      18       Q   And who from Baxter's outside counsel was            11:02:08
                                                                                      19   present in your preparation?                                 11:02:11
                                                                                      20       A   I didn't write down all the names.       John        11:02:12
                                                                                      21   was there, but I don't know who else.                        11:02:16
                                                                                      22       Q   Did you communicate with anyone other than           11:02:18
                                                                                      23   attorneys to prepare for your deposition today?              11:02:21
                                                                                      24       A   No.                                                  11:02:23



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                                                                                      1        Q     And your communication with Baxter's             11:02:23
                                                                                      2    in-house and outside counsel was limited to one            11:02:28
                                                                                      3    hour, correct?                                             11:02:30
                                                                                      4        A     Yes.                                             11:02:31
                                                                                      5        Q     Did you review any documents to prepare          11:02:31
                                                                                      6    for this deposition other than the patent and your         11:02:35
                                                                                      7    transcript?                                                11:02:37
                                                                                      8        A     No.                                              11:02:37
                                                                                      9        Q     Are you being compensated by Baxter for          11:02:38
                                                                                      10   your time spent in this deposition?                        11:02:44
                                                                                      11       A     No.                                              11:02:45
                                                                                      12       Q     Are you being compensated by Baxter for          11:02:45
                                                                                      13   your time spent preparing for this deposition?             11:02:49
                                                                                      14       A     No.                                              11:02:51
                                                                                      15       Q     Are you being compensated by Baxter for          11:02:52
                                                                                      16   any time spent consulting?                                 11:02:54
                                                                                      17       A     No.                                              11:02:56
                                                                                      18       Q     What is the total amount of time that you        11:02:56
                                                                                      19   have spent preparing for today's deposition?               11:03:06
                                                                                      20       A     I can give an estimate, maybe an hour and        11:03:08
                                                                                      21   a half.                                                    11:03:27
                                                                                      22             MS. GARCIA:    Why don't we take a               11:03:28
                                                                                      23   five-minute break.                                         11:03:29
                                                                                      24             THE WITNESS:    Okay.                            11:03:30



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                                                                                      1    some of the work done in developing the '805                      11:20:40
                                                                                      2    patent?                                                           11:20:42
                                                                                      3              MR. COOK:     Object to form.                           11:20:43
                                                                                      4              THE WITNESS:     I don't know.                          11:20:44
                                                                                      5              MS. GARCIA:     I don't have any further                11:20:46
                                                                                      6    questions.                                                        11:20:48
                                                                                      7              THE WITNESS:     Okay.                                  11:20:48
                                                                                      8              MR. COOK:     Dr. Bello, I just have a few              11:20:49
                                                                                      9    follow-up questions.                                              11:20:52
                                                                                      10                             EXAMINATION                             11:20:52
                                                                                      11                            BY MR. COOK:                             11:20:52
                                                                                      12       Q     First of all, there has been a lot of talk              11:20:53
                                                                                      13   this morning about the terms clinical and                         11:20:56
                                                                                      14   clinician.     Can you just explain to the jury what              11:20:58
                                                                                      15   your understanding of each of those terms are?                    11:21:02
                                                                                      16       A     When I use the word clinical it really                  11:21:04
                                                                                      17   means in the setting in which pumps were used, it                 11:21:07
                                                                                      18   meant in -- whether it be in the hospital setting,                11:21:12
                                                                                      19   in an outpatient setting, just in general where                   11:21:16
                                                                                      20   pumps would be used in the clinical setting.                      11:21:20
                                                                                      21       Q     And what is your understanding of the term              11:21:22
                                                                                      22   clinician?                                                        11:21:26
                                                                                      23       A     Clinician, I used it in terms of, again,                11:21:27
                                                                                      24   healthcare professional.           It could be anyone that        11:21:32



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                                                                                      1    in context of this deposition using a pump, it             11:21:37
                                                                                      2    could be a physician, it could be a nurse, it              11:21:40
                                                                                      3    could be an LPN.                                           11:21:44
                                                                                      4        Q   And you testified that you have had                11:21:46
                                                                                      5    conversations with clinicians about the Colleague          11:21:50
                                                                                      6    pump, is that correct?                                     11:21:53
                                                                                      7        A   Correct.                                           11:21:53
                                                                                      8        Q   During those conversations do you recall           11:21:54
                                                                                      9    any clinicians identifying features of the                 11:21:57
                                                                                      10   Colleague pump that they liked?                            11:22:00
                                                                                      11       A   Yes.                                               11:22:02
                                                                                      12       Q   And what features do you recall them               11:22:02
                                                                                      13   identifying?                                               11:22:05
                                                                                      14           MS. GARCIA:    Objection, form.                    11:22:05
                                                                                      15           THE WITNESS:    They liked the pump                11:22:06
                                                                                      16   personalities.     They liked the information that         11:22:09
                                                                                      17   was displayed on the screen in regards to the              11:22:12
                                                                                      18   volume history, the infusions themselves, the              11:22:16
                                                                                      19   selection of infusion parameters, being able to            11:22:21
                                                                                      20   set the air bubble size depending on what unit you         11:22:27
                                                                                      21   were in, some of those types of things.                    11:22:30
                                                                                      22   BY MR. COOK:                                               11:22:33
                                                                                      23       Q   And you used the term personalities, what          11:22:34
                                                                                      24   did you mean by that?                                      11:22:37



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                                                                                      1        A     That you could set up certain                     11:22:38
                                                                                      2    configurations for the unit of the hospital you             11:22:40
                                                                                      3    were in.     For example, if you were in a neonatal         11:22:45
                                                                                      4    intensive care unit you could set the volume to be          11:22:49
                                                                                      5    infused at a smaller volume to match the patients           11:22:52
                                                                                      6    that were in that type of setting.                          11:22:56
                                                                                      7        Q     And do you recall during your                     11:22:58
                                                                                      8    conversations with clinicians any identifications           11:23:04
                                                                                      9    of which of the features of the Colleague pump the          11:23:07
                                                                                      10   clinicians viewed to be more significant than               11:23:10
                                                                                      11   others?                                                     11:23:13
                                                                                      12             MS. GARCIA:    Objection, form.                   11:23:13
                                                                                      13             THE WITNESS:    I don't recall them saying        11:23:14
                                                                                      14   which were most significant.                                11:23:23
                                                                                      15   BY MR. COOK:                                                11:23:26
                                                                                      16       Q     Do you recall any of the clinicians that          11:23:26
                                                                                      17   you talked to about the Colleague pump identifying          11:23:28
                                                                                      18   certain features as the reason why they purchased           11:23:33
                                                                                      19   the Colleague pump?                                         11:23:35
                                                                                      20             MS. GARCIA:    Objection, form.                   11:23:37
                                                                                      21             THE WITNESS:    Not in regards to why they        11:23:38
                                                                                      22   purchased.                                                  11:23:43
                                                                                      23   BY MR. COOK:                                                11:23:43
                                                                                      24       Q     Earlier you were asked questions about the        11:24:01



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                                                                                      1    Court's claim construction decision, do you recall         11:24:04
                                                                                      2    that?                                                      11:24:06
                                                                                      3        A   Yes.                                               11:24:06
                                                                                      4        Q   I am correct that is not something you             11:24:07
                                                                                      5    have reviewed?                                             11:24:08
                                                                                      6        A   Correct.                                           11:24:09
                                                                                      7        Q   And you do not have any understanding as           11:24:09
                                                                                      8    to how the Court has construed certain elements of         11:24:12
                                                                                      9    the claims of the '805 patent?                             11:24:16
                                                                                      10       A   I don't have that knowledge.                       11:24:18
                                                                                      11       Q   So earlier today when you were asked               11:24:19
                                                                                      12   questions about claim 1 of the '805 patent and             11:24:21
                                                                                      13   certain elements you were not considering how the          11:24:26
                                                                                      14   Court may have construed those elements in                 11:24:28
                                                                                      15   answering your questions, have you?                        11:24:31
                                                                                      16       A   No.    I am coming truly from a user               11:24:32
                                                                                      17   clinical background.                                       11:24:36
                                                                                      18           MR. COOK:     I don't have any additional          11:24:42
                                                                                      19   questions at this time, thank you.                         11:24:44
                                                                                      20                       FURTHER EXAMINATION                    11:24:44
                                                                                      21                         BY MS. GARCIA:                       11:24:44
                                                                                      22       Q   Dr. Bello, Mr. Cook just asked you                 11:24:46
                                                                                      23   questions about your conversations with clinicians         11:24:49
                                                                                      24   about what they purportedly liked about the                11:24:52



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                                                                                      1    Colleague pump, correct?                                   11:24:54
                                                                                      2        A   Uh-huh, yes.                                       11:24:55
                                                                                      3        Q   Can you identify one specific conversation         11:24:56
                                                                                      4    with a specific customer about the Colleague pump?         11:24:59
                                                                                      5        A   I can't do a specific customer or                  11:25:05
                                                                                      6    conversation.                                              11:25:08
                                                                                      7             I recall in general they were pleased with        11:25:09
                                                                                      8    the information that the pump shared with them in          11:25:13
                                                                                      9    how they could potentially reduce medication               11:25:20
                                                                                      10   errors by knowing what the pump was infusing, how          11:25:23
                                                                                      11   it was infusing, those types of things, but a              11:25:27
                                                                                      12   specific conversation, no.                                 11:25:30
                                                                                      13       Q   And can you identify any documents                 11:25:31
                                                                                      14   memorializing your conversations with customers            11:25:34
                                                                                      15   about Baxter's Colleague pump?                             11:25:36
                                                                                      16       A   I cannot.                                          11:25:38
                                                                                      17       Q   Mr. Cook also asked you some questions             11:25:40
                                                                                      18   about personalities, do you recall that?                   11:25:43
                                                                                      19       A   Yes.                                               11:25:45
                                                                                      20       Q   Would you please turn to Exhibit 1, which          11:25:45
                                                                                      21   is the '805 patent, column 20 of claim 1.                  11:25:48
                                                                                      22            The word personality doesn't appear               11:26:04
                                                                                      23   anywhere in claim 1, correct?                              11:26:06
                                                                                      24       A   I use that interchangeably with                    11:26:07



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                                                                                      1    configuration because that is one portion of              11:26:10
                                                                                      2    configuration is to be able to configure a pump           11:26:14
                                                                                      3    personality.                                              11:26:17
                                                                                      4        Q   The word personality does not appear              11:26:18
                                                                                      5    anywhere in claim 1 of the '805 patent, correct?          11:26:20
                                                                                      6        A   Correct.                                          11:26:23
                                                                                      7        Q   The word personalities does not appear            11:26:24
                                                                                      8    anywhere in Claim 1 of the '805 patent, correct?          11:26:26
                                                                                      9        A   I haven't checked every word, but it is --        11:26:29
                                                                                      10       Q   Please take your time.                            11:26:34
                                                                                      11       A   It is a configuration parameter.                  11:26:35
                                                                                      12       Q   My question is the word personality --            11:26:37
                                                                                      13       A   It does, on Page 29 it says personality in        11:26:39
                                                                                      14   the picture on the graphical user interface, and          11:26:43
                                                                                      15   that's where personality appears.                         11:26:47
                                                                                      16       Q   Now, I am directing you to Claim 1 of the         11:26:48
                                                                                      17   '805 patent in column 20 --                               11:26:51
                                                                                      18       A   But you asked me anywhere in the patent           11:26:53
                                                                                      19   that the word personality was used and it is.             11:26:55
                                                                                      20       Q   My question is -- we can have the court           11:26:57
                                                                                      21   reporter read it back if you like.                        11:27:01
                                                                                      22           MS. GARCIA:    Please, go ahead.                  11:27:04
                                                                                      23           (Record read as requested.)                       11:27:21
                                                                                      24           THE WITNESS:    It's not in claim 1, but I        11:27:21



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                                                                                      1    haven't looked at the other claims in detail to              11:27:23
                                                                                      2    see if it is there.                                          11:27:26
                                                                                      3             MS. GARCIA:     Nothing further.                    11:27:27
                                                                                      4             MR. COOK:     I don't have anything else.           11:27:29
                                                                                      5    Thank you very much.                                         11:27:30
                                                                                      6             THE VIDEOGRAPHER:     This marks the end of         11:27:32
                                                                                      7    today's deposition, the time is 11:27 a.m., we are           11:27:34
                                                                                      8    now off the record.                                          11:27:38
                                                                                      9              (End of video proceedings.)                        11:27:46
                                                                                      10            MS. REPORTER:     Do you need this on an            11:27:46
                                                                                      11   expedited basis?                                             11:27:47
                                                                                      12            MS. GARCIA:     No, we don't need it                11:28:01
                                                                                      13   expedited.                                                   11:28:03
                                                                                      14            THE VIDEOGRAPHER:     Anybody need a copy of        11:28:04
                                                                                      15   the video?                                                   11:28:05
                                                                                      16            MR. COOK:     I don't think at this point.          11:28:06
                                                                                      17            THE VIDEOGRAPHER:     Did you need a copy?          11:28:08
                                                                                      18            MS. GARCIA:     Eventually on the standard          11:28:09
                                                                                      19   order.                                                       11:28:11
                                                                                      20            THE VIDEOGRAPHER:     I will put standard.          11:28:11
                                                                                      21            MS. REPORTER:     Do you need a rough draft?        11:30:09
                                                                                      22            MR. COOK:     Yes, why not.                         11:30:11
                                                                                      23            (WHICH WERE ALL OF THE PROCEEDINGS HAD OR
                                                                                      24              TAKEN PLACE IN THE ABOVE-ENTITLED MATTER.)



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                                                                                      1    STATE OF ILLINOIS)
                                                                                                            ) SS.
                                                                                      2    COUNTY OF DUPAGE )
                                                                                      3              I, STEPHANIE A. BATTAGLIA, CSR and
                                                                                      4    Notary Public in and for the County of DuPage and
                                                                                      5    State of Illinois, do hereby certify that on
                                                                                      6    August 4, 2023, at 10:04 a.m., at Regus - Lake
                                                                                      7    Forest, 100 South Saunders Road, Suite 150, Lake
                                                                                      8    Forest, Illinois, the deponent DEBRA BELLO
                                                                                      9    personally appeared before me.
                                                                                      10            I further certify that the said DEBRA
                                                                                      11   BELLO was by me first duly sworn to testify and
                                                                                      12   that the foregoing is a true record of the
                                                                                      13   testimony given by the witness.
                                                                                      14            I further certify that the deposition was
                                                                                      15   terminated at 11:27 a.m.
                                                                                      16            I further certify that I am not counsel
                                                                                      17   for nor related to any of the parties herein, nor
                                                                                      18   am I interested in the outcome hereof.
                                                                                      19            In witness whereof, I have hereunto set
                                                                                      20   my hand and seal of office this 17th of August,
                                                                                      21   2023.
                                                                                      22
                                                                                      23   ___________________________________
                                                                                           Notary Public
                                                                                      24   CSR No. 084-003337 - Expiration Date:     5/31/2025



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